






COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS







IN THE MATTER OF R.A.,


A JUVENILE
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No. 08-09-00073-CV



Appeal from


65th District Court


of El Paso County, Texas


(TC # 07,01209)




MEMORANDUM OPINION



	R.A., a juvenile, filed notice of appeal from an order of the juvenile court waiving
jurisdiction and transferring the case for prosecution in a criminal court.  Pending before the Court
is the State's motion to dismiss the appeal for jurisdiction.  We grant the motion and dismiss the
appeal.

	The State filed a petition to waive juvenile court jurisdiction and to transfer the case to
criminal court.  See Tex.Fam.Code Ann. §54.02 (Vernon 2008)(providing for waiver of juvenile
court's exclusive original jurisdiction and transfer to criminal court).  The petition alleges that R.A.
committed two counts of aggravated sexual assault of a child.  Following a hearing, the juvenile
court entered an order waiving the court's exclusive jurisdiction and transferring the case to a district
court for prosecution.  The County Attorney's Office forwarded the case to the District Attorney's
Office.  R.A. filed notice of appeal.  The State has filed a motion to dismiss the attempted appeal
from the transfer order.

	A juvenile has the right to appeal as provided for by the Family Code.  Tex.Fam.Code Ann.
§ 56.01(d)(Vernon 2008).  The Family Code authorizes an appeal by or on behalf of a child from an
order entered under: Section 54.03 with regard to delinquent conduct or conduct indicating a need
for supervision; Section 54.04 disposing of the case; Section 54.05 respecting modification of a
previous juvenile court disposition; or Chapter 55 by a juvenile court committing a child to a facility
for the mentally ill or mentally retarded.  Tex.Fam.Code Ann. § 56.01(c).  A person may also
appeal an order entered under Section 54.11(i)(2) transferring the person to the custody of the
institutional division of the Texas Department of Criminal Justice.  Tex.Fam.Code Ann. §
56.01(c)(2).  The Family Code does not authorize an interlocutory appeal of a transfer order entered
pursuant to Section 54.02.  

	The Code of Criminal Procedure provides for an appeal of an order of a juvenile court
certifying the defendant to stand trial as an adult and transferring the defendant to a criminal court
under Section 54.02 of the Family Code.  Tex.Code Crim.Proc.Ann. art. 44.47(a)(Vernon 2006).
However, such an appeal may be taken "only in conjunction with the appeal of a conviction of or an
order of deferred adjudication for the offense for which the defendant was transferred to criminal
court."  Tex.Code Crim.Proc.Ann. art. 44.47(b).  The record establishes that the criminal
prosecution of R.A. remains pending.  Consequently, he does not have a right to appeal the transfer
order at this stage of the proceedings.  We grant the State's motion and dismiss the appeal.


November 24, 2009					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Rivera, JJ.


